
203 P.3d 374 (2009)
226 Or. App. 413
In the Matter of T.H., Alleged to be a Mentally Ill Person.
STATE of Oregon, Respondent,
v.
T.H., Appellant.
080464074; A138978.
Court of Appeals of Oregon.
Submitted January 2, 2009.
Decided March 4, 2009.
Lance D. Perdue, Portland, filed the brief for appellant. Hardy Myers, Attorney General, Mary H. Williams, Solicitor General, and Patrick M. Ebbett, Assistant Attorney General, filed the brief for respondent.
Before EDMONDS, Presiding Judge, and WOLLHEIM, Judge, and SERCOMBE, Judge.
PER CURIAM.
Appellant seeks reversal of a judgment committing him as a mentally ill person for a period not to exceed 180 days. ORS 426.130. Appellant argues that the record does not establish by clear and convincing evidence that he is unable to provide for his basic needs because of a mental disorder. See ORS 426.005(1)(d). The state concedes that the evidence is insufficient for involuntary commitment and that the judgment should be reversed. On de novo review of the record, we accept the state's concession and reverse.
Reversed.
